    Case 2:10-md-02179-CJB-DPC Document 275-1 Filed 09/17/10 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                                  )
Bayona Corporation d/b/a Bayona Restaurant        )   C.A. No. 2:10-MD-2179
                                                  )              c/w 2:10-CV-1839-SSV- JCW
                                     Plaintiff,   )
                                                  )   Judge Barbier
                       v.                         )
                                                  )   Mag. Judge Shushan
TRANSOCEAN LTD, ET AL                             )
                                                  )
                                                  )   CLASS ACTION COMPLAINT
                                                  )
                                                  )


                                            ORDER

       The foregoing motion considered:

       IT IS ORDERED that Walter J. Leger, Jr. (Bar #8278), Franklin G. Shaw (Bar # 1594),

Walter J. Leger, III (Bar # 28656) and Christine E. Sevin (Bar #32683) of the firm Leger & Shaw,

600 Carondelet Street, 9th Floor, New Orleans, Louisiana, 70130, be and is hereby enrolled as lead

counsel of record for plaintiffs, Bayona Corporation d/b/a Bayona Restaurant. in these proceedings.

       New Orleans, Louisiana, this ________ day of _____________________, 2010.


                                                      ___________________________________
                                                      DISTRICT COURT JUDGE
